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November 16, 2020



VIA ECF
Honorable Jesse M. Furman
United States District Judge, Southern District of New York
Thurgood Marshall United States Courthouse
40 Foley Square
New York, NY 10007

               Re:     Artesia McMillan v. Express, LLC
                       Civ. No. 20-CV-04159 (JMF)

Dear Judge Furman:

        As counsel for Defendant, we submit this letter jointly with Plaintiff’s counsel, to request
that the Court’s recent Order of Dismissal, which gives the parties the right to reopen this matter
within 60 days (ECF No. 19) be modified to give the parties at least 90 days to reopen this matter.
The parties are working on drafting an agreement, which will include a payment plan that will
extend past the 60 day deadline in the Court’s Order. As such, the parties respectfully request that
the Court’s 60 day Order be extended to at least 90 days, which will avoid the parties’ need to file
the settlement agreement under seal after 60 days.

       We thank the Court for its time and consideration of this request.

                                                     Respectfully submitted,

                                                     /s/ Rebecca Goldstein

                                                     Rebecca Goldstein

cc: Counsel for Plaintiff (via ECF)
RG/dh
                                                  Application GRANTED. The Clerk of Court is
                                                  directed to terminate ECF No. 20. SO ORDERED.


                                                                                      November 16, 2020
